                                                                                        FILED
                                                                             CLERK, U.S. DISTRICT COURT


                                                                                  FEB 13 2019

                                                                         CENTRAL DISTRICT OF CALIFORNIA
                                   UNITED STATES DISTRICT COURT
                                                           OURT     vdr
                                                              BY: ___________________ DEPUTY
                                  CENTRAL DISTRICT OF CALIFORNIA
                                                           ORNIA

Sean Jefferson,
                                                        CASE NUMBER:                                    JS-6
                                                                         CV18-10482-FMO (AS)
                                       Plaintiff,
                           v.
                                                            ORDER DENYING REQUEST TO PROCEED
Unknown,                                                          WITHOUT PREPAYMENT
                                                                     OF FILING FEES
                                       Defendant(s).                AND CLOSING CASE

          On December 28, 2018 , the Court DENIED plaintiff's request to file the action without prepayment of
the full filing fee with leave to amend. Plaintiff was advised to resubmit the Request to Proceed Without
Prepayment of Filing Fees and Complaint with a certified copy of the Trust Account Statement and
Disbursement Authorization within 30 days, and failure to do so would result in closure of the case.
          Plaintiff has failed to submit a timely response. Accordingly, the Request to Proceed without
Prepayment of Filing Fees is DENIED and the case is closed.


IT IS ORDERED.


DATED: February 13, 2019                                      /s/ Fernando M. Olguin
                                                             United States District Judge




Presented by:



/ s / Alka Sagar
United States Magistrate Judge




IFP-9 (04/15)         ORDER DENYING REQUEST TO PROCEED WITHOUT PREPAYMENT OF FILING FEES AND CLOSING CASE
